Case 3:17-cv-00072-NKM-JCH Document 1149-11 Filed 10/04/21 Page 1 of 2 Pageid#:
                                   19083




                        Elizabeth Sines, et al. v. Jason Kessler, et al.
                            Case No. 3:17-cv-00072-NKM-JCH




                      EXHIBIT 2880
             Plaintiffs’ Motion In Limine for the Court to Deem Authentic Certain
            Photographs and Videos Depicting Defendant Robert “Azzmador” Ray
Case 3:17-cv-00072-NKM-JCH Document 1149-11 Filed 10/04/21 Page 2 of 2 Pageid#:
                                   19084



         VIDEO EXHIBIT – FILED WITH COURT

                       Elizabeth Sines, et al. v. Jason Kessler, et al.
                           Case No. 3:17-cv-00072-NKM-JCH




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